Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 1 of 7




                                            CIV-18-103-C
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 2 of 7
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 3 of 7
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 4 of 7
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 5 of 7
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 6 of 7
Case 5:18-cv-00103-C Document 1 Filed 01/31/18 Page 7 of 7
